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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
              1:19-CV-06034 ( JPO )


                                                                      FIRST AMENDED
                                                                              COMPLAINT



                                                                     Plaintiff

                                                                    Requests A Trial By Jury




SHERRY SCALERCIO-ISENBERG
----------------------------------------------------------------x
                     (Plaintiff)

                       VS.


MORGAN STANLEY SERVICES GROUP. INC.
MATTHEW DZIEDZIC,

JAMES P. GORMAN, JEFF BRODSKY

KERRIE R. HESLIN
------------------------------------------------------x
                     ( DEFENDANTS )
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            I.    Introduction and Background

      As a Prose Plaintiff, I thank Your Honor the for the opportunity to file a
      First Amended Complaint for this Civil Action, involving violations of my
      Civil Rights, under Title VII of The Civil Rights Act of 1964.


I bring this Complaint forward, not only, to pursue justice for my
own self, but, to also, give a voice to any other business
professional, MALE OR FEMALE, OF ANY AGE,SEX or other
characteristic, who may have experienced similar Acts of
Discrimination, Retaliation and overall egregious, hiring and
employment practices AND MISCONDUCT, by the Defendants,
And they could not fight back!

It is the right course of action to expose the Defendants’ mean,
vicious, behaviors, by which, together, in full conscience, they ALL
took specific actions to Bully and Silence the Plaintiff in order to
hide , what they all knew, was egregious behavior, and unlawful
Actions in VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF
1964.


There could be NO, ETHICAL, justified, reason for Morgan
Stanley employees and their legal representatives, to send the
Plaintiff    A   vicious , letter filled with LIES and intimidation
tactics! See Exhibit # MS.FAC.005. the Retaliatory Letter
from Ms. Kerrie Heslin, esq.


I’m A Female Wallstreet professional, who was trying to return to
the Wallstreet arena after a very scary, life-threatening, emergency
surgery! The Defendants were attempting         to hide their GUILT
and exposure of TITLE VII VIOLATIONS! The Letter was drafted
and sent, after, the Plaintiff raised an employment concern directly
to the CEO of Morgan Stanley, Mr. James Gorman. Materials facts
and supporting evidence follows.
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          II.     Nature of the claims

 Violation of Title VII of the Civil Rights Act of 1964 (“Title VII”), 42
U.S.C. § 2000e et seq., the Age Discrimination in Employment Act
(“ADEA”), 29 U.S.C. §§ 621–634, the Americans with Disabilities Act
(“ADA”), 42 U.S.C. § 12112 et seq.,



          III. HISTORY of The ADEA


The history of the ADEA’s enactment revealed that Congress was
concerned not just with age discrimination within the workplace,
but also with barriers to older workers finding employment in the
first place.



In the Act’s Purpose Statement, the judge said, Congress described
how older workers find themselves disadvantaged in their efforts to

regain employment when displaced from their jobs.



                IV. Causes of Action and Material Facts


       COUNT I - AGE DISCRIMINATION and in violation of                     the

       Age Discrimination in Employment ACT (ADEA)

  29U.S.C. §621-634




                  1. I am a female senior management Executive,
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        2.     reporting to   the CEO and Board of Director
             level

        3. My Expertise is generally referred to as Liquidity
           risk management and

        4.    Wallstreet Compliance.




        5. When I started

        6. applying to jobs on the Morgan Stanley job portal,


        7. I was Age 52 and I was trying to regain full-
           time employment in


        8.    NYC, within the wallstreet arena, after, an
             extended break in my employment,


        9.       related to a surgery complication for the


        10.      removal of an


        11.       arterial venous malformation (AVM) located


        12.      on the surface of my brain [Brain AVM].


        13.      A complication occurred whereby, instead of


        14.   a week in the hospital and a 3-4-week
          recovery time,


        15.      I was in Neuro ICU 11 days, [see


        16.      Exhibit#MS.FAC.0010 ECF#33],
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        17.   THEN I was transferred from NY
          Presbyterian hospital to


        18.     Kessler Rehabilitation facility



        19.      for 4 months of In-patient care,


        20.     then 6 months of out-patient physical therapy to


        21.     get back to walking.


        22.      By January 2013, I returned to work part-time


        23.     with a NYC firm, Actualize Consulting, that

        24.      allowed me, to work from my home office, with
           occasional, weekly and monthly meetings in the NYC
           office.



        25.     By January 2017, I was finally ready to return to
        26.      a full-time job in NYC , in the wallstreet arena. I
        27.     was walking fairly good, although, I wear a
        28.     foot/ankle brace to assist me in walking, as
        29.      THE COMPLICATION,       caused a Left-side
        30.     disability from the emergency condition.



        ( see Exhibit (MS.FAC.009 ECF#32) Neuro surgeon
        Letter).


        31.     In as early as December 2017, but primarily,
        32.     starting in January 2018, I applied to a number of
        33.     jobs posted on the Morgan Stanley job portal.
        34.     See Exhibit [MS.MS.FAC.0014 Morgan Stanley Job
        35.     portal screen].
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        36.      The Morgan Stanley Firm, and The
           Morgan Stanley NYC office, located at 1585
           Broadway, was a desirable employment option
           for me to regain full-time employment, because,
           the location is within walking distance to/from
           the NY Port Authority Bus terminal, the place
        37.     where I commute in/out of NYC, in order to
           use public transportation.
        38.     In addition, I am familiar with the inner
           workings of Morgan Stanley , having been an
           Institutional Client of Morgan Stanley and also, I
           worked on a multi-million-dollar deal at


        39.     Morgan Stanley when Mr. Gorman was the
           Chief Operating Officer of Morgan Stanley.


        40.     In, or around February 2018, After applying
          to many jobs posted on the Morgan Stanley
          website, primarily jobs in the Risk Management
          area, located at 1585 Broadway New York, NY.
          Offices.

        41.    I called the Head of North America
          recruiting, Mr. Matt Dziedzic.


        42.   I was seeking feedback and help, with
          respect to, why, I was being eliminated from
          consideration for
        43.    ALL jobs in the Risk management area, NYC
           office.




        44.       The job portal screen showed , I had
           made 26 job application Submissions, See
           Exhibit MS.FAC.0014 [Job submission screen].
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        45.     I wanted to understand the details of why
        46.     I was not being contacted by phone
        47.     or email for an interview, or at least
        48.     an introductory phone interview.


        49.     If, there was a technical glitch of some kind,

        50.     I wanted to correct the issue that
        51.     was preventing my resume and application
        52.     from being considered and advancing ME to
           an interview.


        53.     Especially since, I was confident that I was
           qualified, based on the Job details that were
           publicly posted, in addition to my


        54.     education and experience, which includes a
           Bachelor of Science degree in Finance


        55.     an MBA in Finance with an


        56.     Applied Thesis in M&A and many years of


        57.     Liquidity Risk management experience,
        58.     in a variety of   roles and positions at
        59.     several different firms within the Banking
           and Wallstreet market.


        60.      The first call with Mr. Dziedzic was
           alarming!
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        61.       HE immediately launched into an       attack
           regarding The format of my resume! A
           Resume format, which previously,

              Landed me two Sr. mgmt positions in my area of
           expertise; which is generally, referred to as,


        62.      Liquidity Risk mgmt and wallstreet
           Compliance.
        63.      Mr. Dziedzic, discussed nothing

        64.       about the exemplary qualifications
           detailed in my resume. He continued the attack
           on My Resume


        65.      for 2-3 minutes, abruptly, stating,


        66.      Baseless and nonsensical criticism.
           He didn’t like the format of my resume,


        67.      He didn’t like words bolded for emphasis,
           or words Underlined to draw attention to a


        68.      particular, important


        69.      qualification.


        70.      The conduct of Mr. Dziedzic became even
           more harsh and baseless, when I responded,
           “my resume format was


        71.      professionally, done”
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        72.     And furthermore, I stated; “ bolded or
           underlined words are


        73.     helpful to the hiring manager, in order to,
           quickly draw


        74.     attention to the most relevant and important
           items.”


        75.     I went on to say to Mr. Dziedzic;


        76.     “I’ve interviewed and hired


        77.     many people, I always appreciate bolded
           or underlined


        78.     Words, that draw my attention to
           qualifications


        79.      that match the job requirements, I’ve
           written in the


        80.     Job description”.


        81.     And Furthermore, this exact Resume Format,
           landed me two previous sr. mgmt level positions
           in Risk mgmt and Wallstreet Compliance.


        82.     Mr. Dziedzic responded, angrily, stating ,
           “Well! That’s My Opinion!”


        83.     and   I think it looks bad and
           disorganized!
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         84.     AND further, that’s a BAD reflection
            upon YOU



         85.     And, the hiring manager doesn’t like how
            it looks!



         86.    These statements made by Mr. Dziedzic,
            were said in an angry , harsh tone!     An
            Intimidation tactic !


         87.      By March 2018, I decided to try to find a
            way around the Road block with Mr. Dziedzic,


         88.    HE had an Authoritarian- like


         89.    control    over ALL Risk management jobs
            located in the NYC offices.


         90.    I contacted Victoria Heimann, a Morgan
            Stanley Sr. Lead Recruiter, based in the
            Pennsylvania office.


         91.    Victoria and I had several phone calls
            discussing my job application submissions, and
            she provided information about the Morgan
            Stanley organizational structure and confirmed,
            Matt Dziedzic is the HR. Executive Director of
            Recruiting and he is responsible for the hiring
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            process of ALL Risk management jobs LOCATED
            in NYC.


         92.    Victoria and I continued to collaborate on my
            Resume and Risk Management jobs posted on the
            Morgan Stanley job portal. See Exhibit #
            MS.FAC.0013, Exhibit t# MS.FAC.0014 and Exhibit
            MS.FAC.0015


         93.      During the month of May 2018,I continued to
            apply to jobs


         94.     in the Risk management area of Morgan
            Stanley and


         95.     requested feedback from Mr. Dziedzic, many
            times.


         96.    I wanted to understand     why, I was still
            being eliminated from


         97.     employment consideration.


         98.    Mr. Dziedzic refused to respond!

         99.    ln an email exchange on Wednesday
         100.   May 9, 2018 and
         101.   Thursday May 10,     2018, between Sherry
            Scalercio-lsenberg

         102.   And Ms. Victoria Heimann,
         103.   Ms. Heimann writes to Sherry:
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         104.   "Thank you for the kind words! I will be
            in New York on Monday
          and can catch up with Matt and some other
            Recruiters." See Exhibit#[MS.FAC.0013
           [Ms. Heimann emails].



         105.   By May 22,2018, I was still continuing to be
            persistent with my follow up to Mr. Dziedzic.


         106.    I knew Mr. Dziedzic was receiving and
            reading my emails I sent, because, I was
            checking the Microsoft Outlook email tracking
            Receipts, which electronically, confirms when an
            email is delivered and when the email is read.


         107.   My extensive experience in:

         108.    writing Job Descriptions, working with
            Recruiters,


         109.   Reviewing resumes, interviewing Candidates


                 and
         110.    Writing job offers , that experience,
            compared against the way I was being treated by


         111.   Matt Dziedzic, whereby, he was not
            responding to any of my requests for feedback to
            help me understand, why, I was being eliminated
            from employment consideration for every Risk
            management job application I submitted!
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         112.     The combination of those facts, AND


         113.    the empirical data, was now sufficient

            evidence pointing to

         114.     TITLE VII VIOLATIONS


         115.     And further validation, of why, Victoria had
            gently guided me to remove dates and many
            jobs, from my resume, although it was relevant
            information detailing my experience.
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                Count II ( TWO)

         Disability Discrimination
           and in violation of
             THE AMERICANS WITH
            DISABILITIES
            ACT (“ADA) ,
            42U.S.C.§12112 ET SEQ.




         116.   I HAVE A Left side disability , [see
            Exhibit #MS.FAC.009]




         117.   At two points in time, during the
           Application process, and during the phone call


         118. interview with Alison Guerzon, I disclosed
           information about my
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         119.   disability in order to answer the questions


         120.    truthfully and with full context.


         121.   It was during the phone call with Alison that


         122.    she told me about the


         123.   Return To Work Program at Morgan Stanley.


         124.    The program is under the management of


         125. Mr. Jeff Brodsky, Chief Human resources
           Officer, who reports to Mr. James Gorman



         126.    On Tuesday, May 15,2018, I had email

         127.   communications with Alison Guerzon, Morgan
            Stanley HR Recruiter, scheduling and confirming


         128.   an interview call for Thursday


         129.    May 17,2018, to review my Resume,
         130.    Background and qualifications.


         131.  See Exhibit # MS.FAC.003 email with Alison
           Guerzon.

         132.   I was connected with Alison Guerzon after,
           Victoria
         133.   Heiman’s visit to the NYC office,

         134.   whereby she spoke to Matt Dziedzic.
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         135.  A few days after her visit, we spoke on the
            phone as follow up to her NYC visit.



         136.   As part Of the conversation, she said, [ in a
            “coaching, nice way]”,



         137.   “At our Age”, we’ve done a lot, we have a
            lot of experience


         138.     you want to tell your story of success, but,
         139.    you don’t want to intimidate the hiring
            manager.
         140.   We continued to talk through details, she
            stated, the hiring manager is intimidated by my
            qualifications that are detailed on my resume.


         141.    She suggested I remove jobs beyond, 5
            years , even though they
         142.    may be relevant. And directly support my
            qualifications for the job.




         143.   I took her advice; HOWEVER, my Age,
            experience,
         144.    and qualifications were already exposed
            by my college graduation dates and several
            liquidity
         145.    risk mgmt positions I held.


   After the call concluded, I was encouraged and
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         146.   hopeful, that finally! I might be able to find
            a way to get around the


         147.    road block with Matt Dziedzic and the
            hurdle of explaining and justifying, why,


         148.     I had such a long break in my


         149.    Employment.




         Count III ( THREE) RETALIATION AND
           IN VIOLATION OF BLACKBALLING




            The Legal Definition of Blackballing
            is:


          “The process of Blackballing is an exclusionary one


         150.  in which a current, former, or future
           employee is


         151.  inequitably denied the right to participate in
           the


         152.    business arena.”




         153.   Material Facts:
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         154.   On June4 ,2018

         155. I sent an email to Mr. Gorman , the CEO of
           Morgan Stanley, to get some help.


         156.   Liquidity risk management is a critical,
           operation in every company, especially,
           Wallstreet firms, whereby , they are often,
           Liquidity providers to big Corporations.


         157. Therefore, in a firm like Morgan Stanley,
           Liquidity Risk management, usually,
         158.   reports directly to the CEO.

         159. In the June 4,2018, email that I sent to Mr.
           James Gorman, CEO,


         160.   See Exhibit#MS.FAC.004.


         161. I chose my words carefully! Never using Title
           VII words.


         162. I specifically stated, “ something seemed
           strange”.


         163.     I DID NOT copy anyone on the email
         164.   Nor, did I tell anyone I sent it! I wanted
            HELP from Mr. Gorman,

         165. leaving the email conversation wide-open
           for a response and
         166.   help!
         167. Mr. Gorman forwarded my email to Ms. Leslie
           Bazos, his
         168.   Assistant/Chief of Staff.
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         169. Mr. Gorman writes to Ms. Bazos, quote “I have
           no idea what this is, please handle.” End of quote.
           See Exhibit# MS.FAC.004


         170.    I received NO help from Mr.
            Gorman!

         171.    Instead, What I received,

         172.    3 days after I raised a concern, was a
            vicious Letter

         173.    from Ms. Kerrie Heslin, identifying


         174.   herself as Legal Counsel for Morgan
            Stanley!


         175.     The letter,      Dated, June 7,2018, was


         176.    A Threatening, harassing letter

         177.    containing many lies, used as


         178.    intimidation tactics, Blackballing me,
            and telling me, all hiring decisions are based
            on


         179.    “Legitimate” business reasons


         180.    AND further, stating and inferring,

         181.    by the words and tone;
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         182. If, I use any form of communications to talk
           about


         183.    Morgan Stanley’s actions, Ms.


         184.   Heslin, would report me to Criminal
            Authorities, AS IF!


         185.   I DID SOMETHING WRONG! And it’s against
           the law to raise


         186.   a valid concern to Mr. James Gorman!


         187.   Blackballing me and threatening me is


         188.   Against the law!


         189.    See Exhibit#MS.FAC.005 Heslin
            Retaliation Letter


         190.    The Letter was Intended to
         191.    intimidate me and


         192.  cause me severe emotional distress in
            order to silence me from

         193.   telling anyone about the Letter!
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         194. Ms. Kerrie Heslin, legal representative of
           Morgan Stanley and her paralegal, Ms. Justine
           Vincent, who typed the letter, and sent it FEDEX
           overnight delivery and then,
         195.  emailed the letter to me;
         196.    they both      wanted to


         197.  ensure I received the letter quickly, to shut
           me up!


         198.   And gauge my reaction!




         199.  COUNT IV – GENDER ISCRIMINATION
            And in violation of Title VII of the Civil
            Rights Act of 1964.

         200.  My first and only phone call with Mr.
           Dziedzic was a sincere effort on My part,
           to get feedback as to
         201.   what I needed to do
         202.   differently, in order to advance to the
           “interview” stage, of jobs I was applying
           to.
         203. Initiating a phone call with Mr.
           Dziedzic was a reasonable and prudent
           course of action.

         204.   Mr. Dziedzic’s abrupt, verbally abusive


         205.  Response, was not professional and in
            NO way, was he opening the door, TO
            HELP ME
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         206.   advance to an interview stage! His
            response was to shut the door and ignore
            me for months, until he could eventually
            make me go away!

         207. The exact details of Who Ordered the
           Retaliation Letter and which Defendant was
           Leading the efforts of Blackballing me, can
           only be fully uncovered through Litigation with
           Interrogatories, subpoenas to produce
           Documents, text messages and take Depositions.
           A full Discovery process is needed.


         208. The EEOC Investigator said, they have limited
           resources and could not get some of the details I
           requested.


         209.  This type of misconduct by the
            defendants may not be the first time,
            however, it’s likely the FIRST time a person has
            Dared to stand up

         210. Against the Morgan Stanley vicious Team and
           not run away after receiving a vicious Letter from
           a Lawyer who’s supposed to uphold the law!



         211.      In the 70’s there were the “dirty cops”
            in NYC Precinct Seven Five,


         212. these are “ Dirty Lawyers” of
            Morgan Stanley at NFC LAWFIRM!
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             213.    As a final attempt, in hopes to find
             214.   one ethical, Morgan Stanley, Sr.
               Management executive, in the NYC
               offices, I personally, delivered a letter with
               many Exhibits to Mr. Jeff Brodsky, Chief
               Human Resources Officer. He is supposed
               to be the person that helps people return
               to work via the Morgan Stanley “Return
               To Work Program. “ See Exhibit
               #MS.FAC.0012.




                I DID NOT RECEIVE ANY RESPONSE FROM              Mr.
                Brodsky! I was Blackballed, because I
                 raised a legitimate employment concern!



                 Application information is tracked by
                 Morgan Stanley. Below is information on


                 The Morgan Stanley job portal.




215. Discriminatory questions are part of the
online application.
Questions must be answered in order to progress to the
next application screen. Morgan Stanley online
application screen states the following:
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216. United States
For positions located in the United States: It is the policy of Morgan
Stanley to ensure equal employment opportunity without discrimination
or harassment on the basis of race, color, religion, creed, age, sex, sex
stereotype, gender, gender identity or expression, transgender, sexual
orientation, national origin, citizenship, disability, marital and civil
partnership/union status, pregnancy, veteran or military service
status,
genetic information or any other characteristic protected by law.


217. To help Morgan Stanley comply with federal/state
equal employment

opportunity record keeping, reporting and other legal requirements,

we
would appreciate your voluntarily answering the questions listed
below.
You are NOT required to answer them. Refusal to provide the
requested
information will not result in adverse treatment. Your answers will
not
affect the consideration of your job-related qualifications. The
information
you provide on this form will be kept in a confidential file separate
from
your application for employment.


      The information is stored!


**At the time I applied to positions posted on the Morgan Stanley
job portal the following questions were required to be answered in
order to progress to the next screen:
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Disability question:

  1. Do you have a Disability? YES , NO, or I Do not wish
     to answer.




A selection was required to progress to the next screen!
Therefore, a candidate such as I, either had to Lie and select NO or
tell the truth and be exposed to potential Discrimination.



The un- written and quietly spoken rule is: “Do not hire
anyone with a disability, too difficult to get rid of them!

“SCREEN OUT” CANDIDATE questions disguised as
VOLUNTARY DIVERSITY QUESTIONS.


If these questions are truly voluntary, then,


WHY, IS THERE NO OPTION to SKIP THE PAGE
BY CLICKING ON THE “FORWARD ARROW




►
The true Answer is:        Because these questions ARE
MANDATORY and must BE ANSWERED WITH AT LEAST ONE
SELECTION! AND allows the HR DEPT AND HIRING MANAGERS TO
     Case 1:19-cv-06034-JPO Document 42 Filed 01/20/20 Page 26 of 28


SCREEN OUT PEOPLE, THEY DON’T WANT TO INTERVIEW, AND
ALLOWS THEM TO HIDE TITLE VII VIOLATIONS!


NO INTERVIEW MITIGATES Human Resource (HR) RISK!

HR SAYS; WE DIDN’T SEE YOU, SO, WE DIDN’T SEE YOUR
DISABILITY, WE DON’T KNOW IF YOU ARE BLACK, WHITE, ASIAN,
BLONDE, BRUNETTE…… SHORT, TALL, YOUNG, OLD,ETC. YOU
VOLUNTARILY ASWERED THE DISCRIMINATORY, SO-CALLED
“DIVERSITY” QUESTIONS, AND SINCE WE DIDN’T GIVE YOU AN
INTERVIEW AND WE DIDN’T SEE YOU , WE DON’T KNOW IF YOU
LIED ABOUT A DISABILITY.


THAT IS HOW, MORGAN STANLEY HIDES TITLE VII
VIOLATIONS!




                    DEMAND FOR JURY
    Plaintiff Demands a Jury Trial for all issues




                      Prayer for Relief


     Wherefore, the Plaintiff requests that a judgement be entered on the
     Plaintiff’s behalf against Morgan Stanley Services Group, Inc. et al.,
     for the following:
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    **************************************************



One million, two hundred ninety-five thousand dollars



$1,295,000.0, which is equivalent to the salary
range of approximately

7 YEARS OF SALARY & Benefits for the Risk management
Positions at my level.




     and any other further relief as the court may deem
     just and proper.



    The Plaintiff respectfully requests, an amount impactful enough,
    to deter Bank CEO’s from intentionally ignoring and covering up

    TITLE VII VIOLATIONS, WHILE Falsely claiming to be
    EEOC Compliant!

    See Exhibit # MS.FAC.006
    AND
     Exhibit # MS.FAC.007
    [EEOC CHARGE AND NOTICE OF RIGHT TO SUE].


    *************************************************
     I respectfully, ask the court to send a strong
    message to the many Wallstreet CEO’s who make
    millions off our Banking system, and willingly
    violate Federal laws, knowing, they are protected
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       by the big corporate Logo AND MONEY! Please
       Hold Morgan Stanley Accountable for knowingly
       and willing, violating civil Rights laws.


       They should be punished for CREATING A
       FAÇADE, like THE RETURN TO WORK PROGRAM!


       AND FOR,

       RETALIATING AGAINST ANYONE WHO HAS THE
       TENACITY TO CHALLENGE AN EMPLOYMENT
       HIRING PRACTICE at MORGAN STANLEY, OR ANY
       OTHER WALLSTREET FIRM!
       *************************************************



Respectfully Submitted,




_________________________
Sherry Scalercio-Isenberg
Phone: 973-534-7095

January 20, 2020
